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                     UNITED STATES COURT OF APPEALS
                   FOR THE DISTRICT OF COLUMBIA CIRCUIT

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UNITED STATES OF AMERICA,                               Appeal No. 23-5062
                                                        Argument Not Yet Scheduled
                                      Appellee,

                       v.

PETER K. NAVARRO,

                                      Appellant.

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      UNOPPOSED MOTION TO GOVERN FUTURE PROCEEDINGS

       On March 3, 2023, the Clerk of this Court issued an order requiring that the

parties file motions to govern future proceedings in this appeal. The parties have

not conferred as to specific terms of a proposed schedule, but counsel for the

government, “does not oppose and that it is appropriate for the court to establish a

briefing schedule for the appeal.” In light of the government’s position, Dr.

Navarro respectfully requests that the Court set a standard briefing schedule.



                             [SIGNATURE ON NEXT PAGE]




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Dated: May 17, 2023              Respectfully submitted,

                                       /s/ Stanley E. Woodward, Jr.
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                      CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Fed. R. App. P. 27(d)(2)(A), that the foregoing

motion complies with the type-volume limitation because it contains 80 words, and

thus not more than 5,200 words. I further certify that this motion complies with

the typeface requirements of Fed. R. App. P. 32(a)(5) and the typeface style

requirements of Fed. R. App. P. 32(a)(6), as required by Fed. R. App. 27(d)(1)(E),

because the motion was prepared in 14-point Times New Roman font using

Microsoft Word.

                                       /s/ Stanley Woodward Jr.

                         CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(c), that on May 17, 2023, the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF

system, which will send a notification to the attorneys of record in this matter who

are registered with the Court’s CM/ECF system.

                                       /s/ Stanley Woodward Jr.
